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    November 22, 2021

    BY ECF

    The Honorable Victor Marrero
    United States District Court for the
    Southern District of New York
    500 Pearl Street
    New York, NY 10007

    Re:       United States v. Dov Malnik, (Case No. 19-CR-714)

    Dear Judge Marrero:

            We respectfully submit this letter in connection with Mr. Malnik’s sentencing hearing on
    November 19, 2021. The parties have conferred regarding the appropriate schedule for Mr. Malnik’s
    surrender to the custody of the Bureau of prisons, and the defense respectfully requests that the Court
    set Mr. Malnik’s self-surrender date for May 19, 2022. This date will allow sufficient time for the
    BOP to designate Mr. Malnik to an appropriate facility and for Mr. Malnik to settle his affairs in
    advance of his surrender. The Government has raised no objection and takes no position on this
    request.

              Thank you for your consideration.


    Respectfully submitted,                                              Defendant's request for a self-
                                                                         surrender date of May 19, 2022,
    /s/ Michael S. Schachter                                             six months after the date of
                                                                         sentencing, is hereby DENIED.
    Michael S. Schachter
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    cc: (via ECF)
    Richard Allen Cooper
    Daniel Marc Tracer
    (U.S. Department of Justice)




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